                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION

UNITED STATES OF AMERICA                            )
                                                    )
                                                    )
v.                                                  )      Criminal No. 3:13-00139
                                                    )      Judge Trauger
                                                    )
[2] FALLON SABLAN, a/k/a Smiley                     )

                                           ORDER

         It is hereby ORDERED that the Defendant’s Motion For Revocation of Detention Order

And to Set Bond (Docket No. 54) is set for evidentiary hearing on Tuesday, October 8, 2013, at

10:00 a.m. The court will review the transcript of the hearing held before the Magistrate Judge

on September 3, 2013 and any other documents relevant thereto. The defendant and the

government may present further proof at the hearing.

         It is so ORDERED.

         ENTER this 1st day of October 2013.


                                                    ________________________________
                                                          ALETA A. TRAUGER
                                                            U.S. District Judge




     Case 3:13-cr-00139      Document 55       Filed 10/01/13    Page 1 of 1 PageID #: 191
